
USCA1 Opinion

	




          December 23, 1992                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 92-1256                              HERIBERTO AYALA-MARTINEZ,                                Plaintiff, Appellant,                                          v.                              HUMBERTO ANGLERO, ET AL.,                                Defendants, Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jaime Pieras, Jr., U.S. District Judge]                                             ___________________                                 ____________________                                        Before                              Torruella, Circuit Judge,                                         _____________                           Campbell, Senior Circuit Judge,                                     ____________________                             and Brody,* District Judge.                                         ______________                                _____________________               Federico Lora-L pez for appellant.               ___________________               Anabelle Rodr guez, Solicitor General, with whom Reina Col n               __________________                               ___________          de Rodr guez,  Deputy  Solicitor General  and  Carlos  Lugo-Fiol,          ____________                                   _________________          Assistant  Solicitor   General,  were   on  brief   for  appellee          Wadalberto Matos-Burgos.                                 ____________________                                 ____________________                                        ____________________          *  Of the District of Maine, sitting by designation.                    TORRUELLA,  Circuit Judge.   Appellant  Heriberto Ayala                                _____________          Mart nez ("Ayala") appeals from a summary judgment dismissing his          lawsuit.   In his complaint,  Ayala alleged  that Police  Officer          Wadalberto  Matos  Burgos ("Matos")  violated  his constitutional          rights under the Due  Process Clause of the Fifth  and Fourteenth          Amendments  and sought damages under 42 U.S.C.   1983 ("  1983").          We affirm the summary judgment on the malicious prosecution claim          and remand  the rest of the  case for further proceedings  in the          district court.                                      BACKGROUND                                      BACKGROUND                                      __________                    On June  30, 1989,  at approximately 11:00  p.m., Matos          stopped  Ayala for driving  through a red  light, and gave  him a          sobriety test.  Matos contends that this test revealed that Ayala          had been drinking alcohol.                    After  this  test,  Matos  took  Ayala  to  the  police          station,  where  Ayala alleges  that, in  the presence  of Matos,          Sergeant Angler  and several  other police officers battered him.          Ayala has since won judgment against Sergeant Angler  for denying          Ayala's civil  rights in violation of    1983 and the  Fourth and          Fourteenth Amendments of  the United States Constitution.   It is          unclear  from   the  record   whether  Ayala  accused   Matos  of          participating  in the  beating.   Matos contends  that  after the          altercation, Ayala refused to submit to a chemical alcohol test.                    Matos   filed  criminal   charges  against   Ayala  for          obstruction of  justice,  aggravated assault,  driving under  the          influence of alcohol, and failing to submit to a chemical alcohol          test.   The  magistrate found  that Matos  had probable  cause to          arrest Ayala for failure to submit to a chemical alcohol test and          driving while  under the  influence of  alcohol, but  no probable          cause  with  respect to  obstruction  of  justice and  aggravated          assault.   At trial, Ayala  was found innocent  on the failure to          submit and driving under the influence charges.                    Ayala  initially sued  both Matos and  Sergeant Angler           for malicious prosecution.  He then moved to amend his complaint.          His amended complaint  added to his initial complaint  charges of          conspiracy, false arrest and excessive use of force.                    We cannot determine  from the district court's  opinion          whether it granted or  denied Ayala's amended complaint.   In its          opinion, the court granted  summary judgment to Matos and  at the          same  time said  that  it granted  Ayala's  motion to  amend  his          complaint,  erroneously  commenting  that  the  amendment's  only          addition  to the  complaint  consisted  of  adding  the  name  of          Sergeant  Angler 's  wife.   Additionally,  in  granting  summary          judgment,  it  discussed  only  the malicious  prosecution  count          without mentioning  the three additional counts  that the amended          complaint added.                    We  affirm the  district court's summary  judgment with          respect  to the malicious prosecution claim,  and remand the rest          of the case to the district court  for a clarification of whether          it granted the  amended complaint, and for a  ruling on the three          additional claims set forth  in Ayala's amended complaint in  the          event that it did.                                         -3-                                   SUMMARY JUDGMENT                                   SUMMARY JUDGMENT                                   ________________                    A moving party is entitled to summary judgment if there          is no genuine issue of material fact, and  that party is entitled          to  judgment as a matter of law.   Griggs-Ryan v. Smith, 904 F.2d                                             ___________    _____          112, 115  (1st Cir. 1990) (quoting  Fed. R. Civ. P.  56(c)).  Our          review of summary judgments is plenary, and we look at all of the          facts  on the  record and draw  all inferences in  the light most          favorable to the non-moving party.  Id.                                              __                                MALICIOUS PROSECUTION                                MALICIOUS PROSECUTION                                _____________________                    Ayala contends that Matos maliciously prosecuted him in          violation  of     1983.    Specifically,  he  claims  that  Matos          "knowing[ly]  and  maliciously  falsified  evidence  in  order to          initiate  proceedings against [him] .  . . ."   Plaintiff's First          Amended Complaint at 5.                    A federal  constitutional claim  under   1983  based on          malicious   prosecution   requires  conduct   so   egregious  and          conscience shocking that it  violates the plaintiff's due process          rights.  Torres v.  Superintendent of Police of Puerto  Rico, 893                   ______     ________________________________________          F.2d 404, 409 (1st Cir. 1990).                       To constitute a violation  of due process, a malicious          prosecution must either result in a deprivation of life, liberty,          or property, or violate  another constitutional right.  Id.   See                                                                  __    ___          also Albright  v. Oliver, 975 F.2d 343, 347 (7th Cir. 1992).  For          ____ ________     ______          example, if a defendant prosecuted a plaintiff due to race, or in          order  to prevent  free  speech, then  the malicious  prosecution          wouldgenerate a constitutional claim. See Torres,893 F.2d at 409.                                                ___ ______                                         -4-                    Viewing the facts in the light most favorable to Ayala,          the motions and  evidence reflect that:   several police officers          beat Ayala without physical provocation; Matos was present during          the beating  and might  have participated; Matos  then fabricated          several  charges against Ayala  in order to  justify the injuries          that Ayala received.                    While  these   facts,  if  true,  are  clearly  morally          repugnant  and   might  well   support  a  claim   for  malicious          prosecution  under Puerto Rican tort  law, they fail  to meet the          standards of a malicious prosecution claim under   1983.  T  h  e          evidence  fails to show that Matos prosecuted Ayala for racial or          political  motivation,   or  otherwise  deprived   him  of  equal          protection.   In addition, Ayala's detention was part of a lawful          arrest  for driving while under the influence of alcohol, and the          magistrate quickly dismissed the  questionable charges that Matos          brought.    Thus, the  malicious  prosecution did  not  cause the          deprivation of Ayala's life, liberty, or property.                    Because Ayala suffered no due process  violation, Matos          is entitled to  a judgment as  a matter of  law on the  malicious          prosecution claim.                    We remand the rest  of the case for a  clarification of          whether the district court granted Ayala's amended complaint, and          for a ruling on the  amended complaint's three additional  claims          in the event that it did.                    Affirmed in part; remanded in part.                    __________________________________                                         -5-

